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12

13
   Attorneys for Defendant
   TEMPOE FINANCIAL LLC,
14 erroneously sued herein as TEMPOE
   FINANCIAL, LLC
15
                             UNITED STATES DISTRICT COURT
16
                       SOUTHERN DISTRICT OF CALIFORNIA
17
                                SAN DIEGO COURTHOUSE
18

19
     DORI FREDERICK                     )       Civil Action No. 3:17-cv-01214-MMA-
20                              Plaintiff,
                                        )
                                        )       NLS
21         vs.                          )
                                        )       JOINT MOTION FOR DISMISSAL
22   L&M TIRE, Inc. doing business as   )
     EXPRESS TIRE, a California         )       OF DEFENDANT TEMPOE
23   corporation; TEMPOE FINANCIAL,     )       FINANCIAL LLC WITH
     LLC a Delaware limited liability   )       PREJUDICE PURSUANT TO
24   company; and DOES 1 through 10,    )
     Inclusive,                         )       FEDERAL RULE OF CIVIL
25                                      )       PROCEDURE 41(a)(2)
                          Defendant(s). )
26                                      )
                                        )
27   ________________________________ )
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                                                       1
     JOINT MOTION FOR VOLUNTARY DISMISSAL WITH PREJUDICE AS TO TEMPOE FINANCIAL
     FREDERICK V. L&M TIRE, INC., et al., 3:17-cv—01214-MMA-NLS
Case 3:17-cv-01214-MMA-NLS Document 16 Filed 01/08/18 PageID.68 Page 2 of 3



 1         PLEASE TAKE NOTICE that Plaintiff Dori Frederick (“Plaintiff”), pursuant
 2 to Federal Rule of Civil Procedure 41(a)(2), hereby voluntarily dismisses all claims in

 3 this action with prejudice as to all Defendants and dismisses the action in its entirety

 4 as provided below.

 5         Federal Rule of Civil Procedure 41(a)(2) provides, in relevant part:
 6         (a) Voluntary Dismissal.
 7               (2) By Court Order; Effect. Except as provided in Rule 41(a)(1), an
 8               action may be dismissed the plaintiff’s request only by court order, on
 9               terms that the court considers proper.
10         Defendant TEMPOE Financial LLC and Ms. Frederick have reached a
11 settlement in this matter and as such request that the Court dismiss TEMPOE

12 Financial LLC with prejudice. Each party is responsible for its own costs and fees.

13

14
     Dated: January 8, 2018                     Respectfully submitted,

15                                              BALLARD SPAHR LLP
                                                Scott M. Pearson
16                                              Kay Fitz-Patrick
17                                        By:   /s/ Kay Fitz-Patrick
18                                              Attorneys for Defendant
                                                TEMPOE FINANCIAL LLC,
19                                              erroneously sued herein as TEMPOE
                                                FINANCIAL, LLC
20

21 Dated: January 8, 2018                       HENDERSON CONSUMER LAW
                                                Samuel Henderson
22
                                          By:   /s/ Samuel Henderson
                                                _______________________________________________
23                                              Attorneys for Plaintiff
                                                DORI FREDERICK
24

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                                                       2
     JOINT MOTION FOR VOLUNTARY DISMISSAL WITH PREJUDICE AS TO TEMPOE FINANCIAL
     FREDERICK V. L&M TIRE, INC., et al., 3:17-cv—01214-MMA-NLS
Case 3:17-cv-01214-MMA-NLS Document 16 Filed 01/08/18 PageID.69 Page 3 of 3



 1                     CONCURRENCE OF ALL SIGNATORIES
 2         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Polices
 3 and Procedures Manual, I certify that the consent of all signatories has been obtained

 4 in support of the above document.

 5

 6 Dated: January 8, 2018                By:    /s/ Kay Fitz-Patrick
                                                Attorney for Defendant
 7
                                                TEMPOE FINANCIAL LLC,
 8                                              erroneously sued herein as TEMPOE
                                                FINANCIAL, LLC
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     JOINT MOTION FOR VOLUNTARY DISMISSAL WITH PREJUDICE AS TO TEMPOE FINANCIAL
     FREDERICK V. L&M TIRE, INC., et al., 3:17-cv—01214-MMA-NLS
